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 1    HEATHER E. WILLIAMS, #122664
      Federal Defender
 2    DAVID M. PORTER, # 127024
      Assistant Federal Defender
 3    801 I Street, 3rd Floor
      Sacramento, CA 95814
 4    Telephone: (916) 498-5700
      Fax: (916) 498-5710
 5
      Attorneys for Defendant
 6    TROY DONAHUE BARRON
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                   )   Case No. S 96-190 JAM 2
                                                  )
11                        Plaintiff,              )   Unopposed Request to Extend Deadline
                                                  )   for Filing a Supplement or Other
12    v.                                          )   Appropriate Response; Order
                                                  )
13    TROY DONAHUE BARRON,                        )
                                                  )
14                        Defendant.              )   Judge: Honorable JOHN A. MENDEZ
                                                  )
15                                                )
16            On November 15, 2019, this Court issued an order directing the Office of the
17    Federal Defender to file a supplement or other appropriate response to defendant’s pro se
18    motion to reduce sentence under the First Step Act no later than December 20, 2019. For
19    the reasons set forth below, counsel requests an extension of the deadline to March 20,
20    2020.
21            The undersigned is the attorney responsible for assisting defendants convicted in
22    the Eastern District of California seeking sentence reductions pursuant to Section 404 of
23    the First Step Act. Defendant Troy Donahue Barron was one of three co-defendants
24    charged in 1996 in a 15-count indictment. Following an eight-day trial, the defendants
25    were convicted and Troy Barron was sentenced to life imprisonment. The government
26    and defense are taking a coordinated approach to resolving, where possible, reductions of
27    sentences under the First Step Act. On November 13, 2019, the government informed the

28    undersigned that it declined to stipulate to relief under the First Step Act.

       Unopposed Request to Extend Deadline for        -1-          United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                       Civ. S 96-190 JAM 2
       Response; Order
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 1           Since that time, the undersigned has requested Mr. Barron’s records from the U.S.
 2    Bureau of Prisons, and is awaiting their receipt. Accordingly, in light of the extremely
 3    lengthy record, and the need to obtain and review Mr. Barron’s record and meet with Mr.
 4    Barron in person, the undersigned respectfully requests an extension until March 20,
 5    2020, to file a supplement or other appropriate response to defendant’s pro se motion.
 6    Counsel for the government, Assistant U.S. Attorney Jason Hitt, graciously indicated he
 7    has no objection to this request. A proposed order is lodged herewith.
 8    Date: December 20, 2019
 9                                                Respectfully submitted,
10                                                HEATHER E. WILLIAMS
                                                  Federal Defender
11
12                                                /s/ David M. Porter
                                                  DAVID M. PORTER
13                                                Assistant Federal Defender
14                                                Attorneys for Defendant
                                                  TROY DONAHUE BARRON
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       Unopposed Request to Extend Deadline for     -2-            United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                      Civ. S 96-190 JAM 2
       Response; Order
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 1                                                ORDER
 2           Pursuant to defendant’s unopposed request, and good cause appearing therefor, the
 3    Office of the Federal Defender is directed to file a supplement or other appropriate
 4    response on or before March 20, 2020.
 5           IT IS SO ORDERED.
 6    Dated: December 20, 2019                     /s/ John A. Mendez______________
                                                   HONORABLE JOHN A. MENDEZ
 7
                                                   United States District Court Judge
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       Unopposed Request to Extend Deadline for     -3-            United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                      Civ. S 96-190 JAM 2
       Response; Order
